               Case 3:18-cr-00392-CRB Document 71 Filed 12/30/19 Page 1 of 3




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13                                    UNITED STATES DISTRICT COURT

14                                 NORTHERN DISTRICT OF CALIFORNIA

15                                        SAN FRANCISCO DIVISION

16
     UNITED STATES OF AMERICA,                        )   CASE NO. CR. 18-00392 CRB
17                                                    )
             Plaintiff,                               )   DECLARATION OF NICHOLAS SANZONE IN
18                                                    )   SUPPORT OF THE UNITED STATES’
        v.                                            )   OPPOSITION TO DEFENDANT’S MOTION TO
19                                                    )   SUPPRESS PURSUANT TO FEDERAL RULE
     NICHOLAS BEYER,                                  )   OF CRIMINAL PROCEDURE 12 AND THE
20                                                    )   FOURTH AMENDMENT
                                                      )
21           Defendant.                               )
                                                      )
22

23           I, Nicholas Sanzone, declare and state as follows:
24           1. I am a Special Agent with the Department of Veterans Affairs Office of Inspector General
25               (VA OIG) and lead case agent for VA OIG in the above-captioned case.
26           2. The Department of Veteran’s Affairs, though one agency, is divided into three organizations.
27               The Veterans Health Administration is in charge of providing medical treatment to veterans
28                                                        1
     SANZONE DECL. ISO OF U.S.’ OPP. TO DEF.’S
     MOT. TO SUPPRESS
     CR 18-00392 CRB
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              Case 3:18-cr-00392-CRB Document 71 Filed 12/30/19 Page 2 of 3




 1             and their families. The Veterans Benefits Administration is separate from the healthcare

 2             organization and is responsible for, among other things, providing disability benefits to

 3             veterans. The third organization is the National Cemetery Association.

 4          3. To be filed under seal and attached as Exhibit A is a true and correct copy of Defendant’s

 5             VA Form 21-526 EZ, Department of Veterans Affairs Application for Disability

 6             Compensation and Related Compensation Benefits. One of the service-connected disabilities

 7             for which Defendant claimed compensation on the form was “major depression.”

 8          4. Attached as Exhibit B is a true and correct copy of the “Notice To Veteran/Service Member

 9             Of Evidence Necessary To Substantiate A Claim For Veterans Disability Compensation And

10             Related Compensation Benefits” which is posted on the VA’s web site and referred to in

11             Exhibit A. This notice is available at https://www.ebenefits.va.gov/ebenefits-

12             portal/downloads/VA_Compensation_Notice-What_the_Evidence_Must_Show.pdf.

13             Although this notice was not attached to the copy of Defendant’s VA Form 21-526 EZ in the

14             government’s possession (Exhibit A), I am informed and believe that it would have been in

15             effect at the time Defendant submitted his application for disability benefits on January 21,

16             2016.

17          5. Once an individual applies for disability benefits from the VA using VA Form 21-526 EZ,

18             the VA then arranges, as needed, for a physical exam of the applicant, known as a

19             Compensation & Pension (or C&P) exam. The C&P exam is conducted by a healthcare

20             professional who assesses the applicant’s disability, determines if the disability is service

21             connected, and transmits his or her report to the Veteran Benefits Association, for claims

22             processing.

23          6. The VA arranged for the Defendant to participate in a C&P exam by a psychiatrist for his

24             claimed disability of major depression.

25          7. To be filed under seal and attached as Exhibit C is a true and correct copy of the VA’s

26             Rating Decision for Nicholas Beyer, dated April 8, 2016. Page two of the form identifies the

27             evidence used by the VA in making a decision on defendant’s disabilities.

28                                                       2
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     CR 18-00392 CRB
30
              Case 3:18-cr-00392-CRB Document 71 Filed 12/30/19 Page 3 of 3




 1          8. Attached as Exhibit D is a true and correct copy of the Department of Veterans Affairs

 2             Veterans Health Administration Notice of Privacy Practices in effect at the time the

 3             Defendant submitted his application for disability benefits to the VA.

 4          9. On December 17, and 18, 2019, I communicated by email with privacy officers from the VA

 5             who informed me of the following. The VA’s privacy policy is described in a Notice of

 6             Privacy Practices (NOPP). Every time the VA revises the NOPP, the VA sends veterans a

 7             copy of the new policy. Veterans are not required to sign an acknowledgement form when

 8             they receive a copy of the new policy.

 9          I declare under penalty of perjury under the laws of the United States that the foregoing is true and

10 correct.

11

12 Executed this 30th day of December, 2019, in Oakland, California.

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15                                                                ___________________________________
                                                                  SPECIAL AGENT NICHOLAS SANZONE
16                                                                Department of Veterans Affairs
                                                                  Office of Inspector General
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     CR 18-00392 CRB
30
